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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

RHONDA CALAWAY                                 *
                                               *
                       Plaintiff               *
                                               *
VS.                                            *
                                               *                NO: 4:09CV00061 SWW
PRACTICE MANAGEMENT                            *
SERVICES, INC. and RICHARD                     *
JOHNS, M.D.                                    *

                       Defendants


                                   CERTIFICATION ORDER

       Pursuant to Rule 6-8 of the Rules of the Supreme Court of the State of Arkansas, this

Court certifies to the Supreme Court of Arkansas a question of law that may be determinative of

this case and as to which it appears there is no controlling precedent in the decisions of the

Supreme Court of Arkansas.

                                                   I.

                          QUESTION OF LAW TO BE ANSWERED

       Whether an individual supervisor can be held personally liable for alleged acts of

retaliation prohibited under the anti-retaliation provision of the Arkansas Civil Rights Act

(“ACRA”), Ark. Code Ann. § 16-123-108(a).1


       1
        The anti-retaliation provision provides:

       No person shall discriminate against any individual because such individual in good
       faith has opposed any act or practice made unlawful by this subchapter or because
       such individual in good faith made a charge, testified, assisted, or participated in any
       manner in an investigation, proceeding, or hearing under this subchapter.

Ark. Code Ann. § 16-123-108(a).
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                                                II.

                          FACTS RELEVANT TO THE QUESTION

       Plaintiff Rhonda Calaway brings this employment dispute against Practice Management

Services, Inc. (“PMS”) and Richard Johns, M.D. (“Johns”). Plaintiff alleges that Johns served

as her primary care physician and hired her to work as a nurse for PMS. Johns also served as

Plaintiff’s supervisor during her employment at PMS.

       Plaintiff alleges that she suffered a hostile working environment at PMS based on sexual

harassment by Johns, that she reported Johns’ behavior to an office manager, and that Johns

terminated her employment immediately after he learned that she had complained about his

conduct. Plaintiff further alleges that after her termination, Johns filed a complaint with the

Arkansas Nursing Board, falsely claiming that she had submitted unauthorized prescriptions to

pharmacies, and he cancelled all remaining refills on medications that he had prescribed for

Plaintiff, without notice or explanation.

       On January 27, 2009, Plaintiff filed this lawsuit against PMS and Johns, asserting claims

for hostile environment and retaliation under Title VII of the Civil Rights Act of 1964 and

supplemental state law claims for retaliation against PMS and Johns under the anti-retaliation

provision of the ACRA, Ark. Code Ann. § 16-123-108(a).

       Johns asserts that Plaintiff’s claims against him individually under Title VII and the

ACRA must be dismissed because a supervisor cannot be held personally liable under either

statute. Plaintiff has acknowledged that Johns is not subject to individual liability under Title

VII. However, Plaintiff maintains that a supervisor sued in his individual capacity for




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retaliation prohibited under Ark. Code Ann. § 16-123-108(a) is subject to personal liability under

the ACRA.

          The question of whether an individual supervisor can be held personally liable for alleged

acts of retaliation prohibited under Ark. Code Ann. § 16-123-108(a) is likely to arise repeatedly

in federal cases, and there is no precedent from the Supreme Court of Arkansas on the issue.

Additionally, there is no consensus among the Judges in this United States District Court on the

issue.2
                                                 III.

                           REFORMULATION OF THE QUESTION

          The United States District Court hereby acknowledges that the Supreme Court of

Arkansas, acting as the receiving court, may reformulate the question presented.

                                                 IV.

                            COUNSEL OF RECORD AND PARTIES

Attorneys for Plaintiff, Rhonda Calaway

Denise Reid Hoggard and Nicholas Lincoln Rogers
Chisenhall, Nestrud & Julian, P.A.
400 West Capitol Avenue, Suite 2840
Little Rock, AR 72201
(501) 372-5800
Email: dhoggard@cnjlaw.com


          2
         Compare Goal v. Retzer Resources Inc., Case No. 5:09CV00137 JLH (E.D. Ark. Dec.
22, 2009)(“A plain reading of the retaliation section of the ACRA shows that the prohibition
applies to individual persons as well as corporate employers.”); Wilson v. Zeigler, Case No.
3:03CV00306 WRW (E.D. Ark. June 1, 2004)(permitting plaintiff to proceed with a retaliation
claim under the ACRA against defendant in his individual capacity); and Vineyard v. EWI, Inc.,
et al, Case No. 4:02CV00609 GTE (E.D. Ark. Dec. 16, 2002)(finding preliminarily that there is
individual liability for retaliation under the ACRA); with Whitney v. Unibar Maint. Serv., Inc.,
No. 4:04CV00561 JMM (E.D. Ark. June 23, 2004)(finding no individual liability for
supervisor in individual capacity for retaliation under the ACRA).

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Email: nrogers@cnjlaw.com

Attorneys for Defendant, Richard Johns, M.D.

Bradley S. Runyon and Harold Wayne Young, Jr.
Friday, Eldredge & Clark, LLP
Regions Center
400 West Capitol Avenue, Suite 2000
Little Rock , AR 72201-3522
(501) 370-3383 (Bradley Runyon)
(501) 370-1402 (Harold Wayne Young, Jr.)
Email: brunyon@fridayfirm.com
Email: wyoung@fec.net

Attorney for Defendant Practice Management Services, Inc.

Byron L. Freeland
Mitchell, Williams, Selig, Gates & Woodyard, PLLC
425 West Capitol Avenue, Suite 1800
Little Rock , AR 72201
(501) 688-8810
Email: bfreeland@mwlaw.com

                                              V.

       The Clerk of the Court is hereby directed to forward this Order to the Supreme Court of

Arkansas under his official seal.

       IT IS SO ORDERED THIS 26TH DAY OF JANUARY, 2010.



                                                   /s/Susan Webber Wright
                                                   UNITED STATES DISTRICT JUDGE




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